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                         IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE
In re                                                              :
                                                                   :
ALAMEDA RESEARCH LLC,                                              : Chapter 11
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ALAMEDA RESEARCH LTD,                                              : Chapter 11
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FTX TRADING LTD.,                                                  :
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ALAMEDA RESEARCH HOLDINGS INC.,                                    :   Chapter 11
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CLIFTON BAY INVESTMENTS LLC,                                       :   Chapter 11
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WEST REALM SHIRES SERVICES INC.,                                   :   Chapter 11
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WEST REALM SHIRES FINANCIAL SERVICES :                                 Chapter 11
INC.,                                                              :
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LEDGER HOLDINGS INC.,                                              :   Chapter 11
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FTX JAPAN HOLDINGS K.K.,                                           :   Chapter 11
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FTX EUROPE AG,                                                     :   Chapter 11
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FTX PROPERTY HOLDINGS LTD,                                         :   Chapter 11
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LT BASKETS LTD.,                                                   :   Chapter 11
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ALAMEDA TR LTD,                                                    :   Chapter 11
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ALLSTON WAY LTD,                                                   :   Chapter 11
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ANALISYA PTE LTD,                                                  :   Chapter 11
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BANCROFT WAY LTD,                                                  :   Chapter 11
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BLUE RIDGE LTD,                                                    :   Chapter 11
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CARDINAL VENTURES LTD,                                             :   Chapter 11
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CEDAR BAY LTD,                                                     :   Chapter 11
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MACLAURIN INVESTMENTS LTD.,                                        :   Chapter 11
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MANGROVE CAY LTD,                                                  :   Chapter 11
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PAPER BIRD INC,                                                    :   Chapter 11
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PIONEER STREET INC.,                                               :   Chapter 11
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QUOINE INDIA PTE LTD,                                              :   Chapter 11
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QUOINE VIETNAM CO. LTD,                                            :   Chapter 11
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SNG INVESTMENTS YATIRIM VE                                         :   Chapter 11
DANIŞMANLIK ANONİM ŞİRKETİ,                                        :
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STRATEGY ARK COLLECTIVE LTD.,                                      :   Chapter 11
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TECHNOLOGY SERVICES BAHAMAS LIMITED, :                                 Chapter 11
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VERDANT CANYON CAPITAL LLC,                                        :   Chapter 11
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WEST INNOVATIVE BARISTA LTD.,                                      :   Chapter 11
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WESTERN CONCORD ENTERPRISES LTD.,                                  :   Chapter 11
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FTX EQUITY RECORD HOLDINGS LTD,                                    :   Chapter 11
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FTX EXCHANGE FZE,                                                  :   Chapter 11
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FTX HONG KONG LTD,                                                 :   Chapter 11
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FTX JAPAN K.K.,                                                    :   Chapter 11
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FTX JAPAN SERVICES KK,                                             :   Chapter 11
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ALAMEDA AUS PTY LTD,                                               :   Chapter 11
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ALAMEDA RESEARCH (BAHAMAS) LTD,                                    :   Chapter 11
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ALAMEDA RESEARCH PTE LTD,                                          :   Chapter 11
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ALAMEDA RESEARCH YANKARI LTD,                                      :   Chapter 11
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ALAMEDA TR SYSTEMS S. DE R. L.,                                    :   Chapter 11
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BLOCKFOLIO, INC.,                                                  :   Chapter 11
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COTTONWOOD GROVE LTD,                                              :   Chapter 11
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CRYPTO BAHAMAS LLC,                                                :   Chapter 11
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DEEP CREEK LTD,                                                    :   Chapter 11
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DIGITAL CUSTODY INC.,                                              :   Chapter 11
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FTX (GIBRALTAR) LTD,                                               :   Chapter 11
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FTX CANADA INC,                                                    :   Chapter 11
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FTX DIGITAL HOLDINGS (SINGAPORE) PTE                               :   Chapter 11
LTD,                                                               :
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FTX PRODUCTS (SINGAPORE) PTE LTD,                                  :   Chapter 11
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FTX SERVICES SOLUTIONS LTD.,                                       :   Chapter 11
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FTX STRUCTURED PRODUCTS AG,                                        :   Chapter 11
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FTX TRADING GMBH,                                                  :   Chapter 11
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FTX ZUMA LTD,                                                      :   Chapter 11
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GLOBAL COMPASS DYNAMICS LTD.,                                      :   Chapter 11
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GOODMAN INVESTMENTS LTD.,                                          :   Chapter 11
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HAWAII DIGITAL ASSETS INC.,                                        :   Chapter 11
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INNOVATIA LTD,                                                     :   Chapter 11
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ISLAND BAY VENTURES INC,                                           :   Chapter 11
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KILLARNEY LAKE INVESTMENTS LTD,                                    :   Chapter 11
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ZUBR EXCHANGE LTD,                                                 :   Chapter 11
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ALAMEDA GLOBAL SERVICES LTD.,                                      :   Chapter 11
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COTTONWOOD TECHNOLOGIES LTD.,                                      :   Chapter 11
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DECK TECHNOLOGIES HOLDINGS LLC,                                    :   Chapter 11
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DECK TECHNOLOGIES INC.,                                            :   Chapter 11
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EUCLID WAY LTD,                                                    :   Chapter 11
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FTX DIGITAL ASSETS LLC,                                            :   Chapter 11
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FTX EMEA LTD.,                                                     :   Chapter 11
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FTX US TRADING, INC.,                                              :   Chapter 11
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HIVE EMPIRE TRADING PTY LTD,                                       :   Chapter 11
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LIQUID FINANCIAL USA INC.,                                         :   Chapter 11
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LIQUIDEX LLC,                                                      :   Chapter 11
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NORTH DIMENSION INC,                                               :   Chapter 11
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NORTH WIRELESS DIMENSION INC,                                      :   Chapter 11
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LEDGERPRIME BITCOIN YIELD                                          :   Chapter 11
ENHANCEMENT MASTER FUND LP,                                        :
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LEDGERPRIME DIGITAL ASSET                                          :   Chapter 11
OPPORTUNITIES FUND, LLC,                                           :
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LEDGER PRIME LLC,                                                  :   Chapter 11
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LEDGERPRIME VENTURES, LP,                                          :   Chapter 11
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NORTH DIMENSION LTD,                                               :   Chapter 11
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QUOINE PTE LTD,                                                    :   Chapter 11
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DAAG TRADING, DMCC,                                                :   Chapter 11
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FTX CERTIFICATES GMBH,                                             :   Chapter 11
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FTX CRYPTO SERVICES LTD.,                                          :   Chapter 11
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FTX EU LTD.,                                                       :   Chapter 11
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FTX LEND INC.,                                                     :   Chapter 11
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FTX MARKETPLACE, INC.,                                             :   Chapter 11
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FTX SWITZERLAND GMBH,                                              :   Chapter 11
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FTX TURKEY TEKNOLOJİ VE TİCARET                                    :   Chapter 11
ANONİM ŞİRKET,                                                     :
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FTX US SERVICES, INC.,                                             :   Chapter 11
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In re                                                              :
                                                                   :
FTX VENTURES LTD,                                                  :   Chapter 11
                                                                   :
                                                                   :   Case No. 22-11172 (JTD)
                                                                   :
                                            Debtor.                :
__________________________________________________________________ x

In re                                                              :
                                                                   :
GG TRADING TERMINAL LTD,                                           :   Chapter 11
                                                                   :
                                                                   :   Case No. 22-11173 (JTD)
                                                                   :
                                            Debtor.                :
__________________________________________________________________ x

In re                                                              :
                                                                   :
GOOD LUCK GAMES, LLC,                                              :   Chapter 11
                                                                   :
                                                                   :   Case No. 22-11174 (JTD)
                                                                   :
                                            Debtor.                :
__________________________________________________________________ x

In re                                                              :
                                                                   :
HANNAM GROUP INC,                                                  :   Chapter 11
                                                                   :
                                                                   :   Case No. 22-11175 (JTD)
                                                                   :
                                            Debtor.                :
__________________________________________________________________ x

In re                                                              :
                                                                   :
HILLTOP TECHNOLOGY SERVICES LLC,                                   :   Chapter 11
                                                                   :
                                                                   :   Case No. 22-11176 (JTD)
                                                                   :
                                            Debtor.                :
__________________________________________________________________ x




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In re                                                              :
                                                                   :
LEDGERPRIME BITCOIN YIELD                                          :      Chapter 11
ENHANCEMENT FUND, LLC,                                             :
                                                                   :      Case No. 22-11177 (JTD)
                                                                   :
                                            Debtor.                :
__________________________________________________________________ x

In re                                                              :
                                                                   :
WEST REALM SHIRES INC.,                                            :      Chapter 11
                                                                   :
                                                                   :      Case No. 22-11183 (JTD)
                                                                   :
                                            Debtor.                :      Ref. No. 3
__________________________________________________________________ x



        ORDER (I) AUTHORIZING JOINT ADMINISTRATION OF THE DEBTORS’
         CHAPTER 11 CASES AND (II) GRANTING CERTAIN RELATED RELIEF

                     Upon the motion (the “Motion”)1 of FTX Trading Ltd. and its affiliated debtors

and debtors-in-possession (collectively, the “Debtors”), for entry of an order (this “Order”)

(a) authorizing joint administration of the Debtors’ Chapter 11 Cases and the consolidation

thereof for procedural purposes only and (b) granting certain related relief; this Court having

jurisdiction to consider the Motion pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended

Standing Order of Reference from the United States District Court for the District of Delaware,

dated February 29, 2012; and this Court being able to issue a final order consistent with Article

III of the United States Constitution; and venue of these Chapter 11 Cases and the Motion in this

district being proper pursuant to 28 U.S.C. §§ 1408 and 1409; and this matter being a core

proceeding pursuant to 28 U.S.C. § 157(b); and this Court having found that proper and adequate

notice of the Motion and the relief requested therein has been provided in accordance with the

Bankruptcy Rules and the Local Rules, and that, except as otherwise ordered herein, no other or


1
    Capitalized terms not otherwise defined herein are to be given the meanings ascribed to them in the Motion.


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further notice is necessary; and objections (if any) to the Motion having been withdrawn,

resolved or overruled on the merits; and a hearing having been held to consider the relief

requested in the Motion and upon the record of the hearing and all of the proceedings had before

this Court; and this Court having found and determined that the relief sought in the Motion is in

the best interests of the Debtors, their estates, their creditors and all other parties-in-interest; and

that the legal and factual bases set forth in the Motion establish just cause for the relief granted

herein; and after due deliberation and sufficient cause appearing therefor;

                     IT IS HEREBY ORDERED THAT:

                     1.     The Motion is GRANTED as set forth herein.

                     2.     Pursuant to section 105(a) of the Bankruptcy Code, Bankruptcy Rule

1015(b) and Local Rule 1015-1, the above-captioned Chapter 11 Cases are consolidated for

procedural purposes only and shall be jointly administered by this Court as Case No. 22-11068

(JTD).

                     3.     The consolidated caption of the jointly administered cases shall read as

follows:

                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

In re:                                                         Chapter 11

FTX TRADING LTD., et al., 1                                   Case No. 22-11068 (JTD)

         Debtors.                                              (Jointly Administered)



1
    The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288
    and 4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list
    of the Debtors and the last four digits of their federal tax identification numbers is not provided herein. A
    complete list of such information may be obtained on the website of the Debtors’ claims and noticing agent
    at https://cases.ra.kroll.com/FTX.




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                 4.      The foregoing caption satisfies the requirements set forth in section

342(c)(1) of the Bankruptcy Code and Bankruptcy Rules 1005 and 2002(n), or such requirements

are hereby otherwise waived.

                 5.      A docket entry shall be made in each of the Debtors’ Chapter 11 Cases,

other than the docket maintained for the chapter 11 case of FTX Trading Ltd., substantially as

follows:

                 An order has been entered in this case under rule 1015(b) of the
                 Federal Rules of Bankruptcy Procedure directing the procedural
                 consolidation and joint administration of the chapter 11 cases of
                 FTX Trading Ltd. and its affiliated debtors. All further pleadings
                 and other papers shall be filed in, and all further docket entries shall
                 be made in, the docket of FTX Trading Ltd., Case No. 22-11068
                 (JTD) and such docket should be consulted for all matters affecting
                 this chapter 11 case.

                 6.      One consolidated docket, one file and one consolidated service list shall be

maintained by FTX Trading Ltd. and kept by the clerk of the Court with the assistance of the

notice and claims agent retained by the Debtors in these Chapter 11 Cases.

                 7.      Nothing contained in the Motion or this Order shall be deemed or

construed as directing or otherwise effecting a substantive consolidation of these Chapter 11

Cases.

                 8.      The Debtors are authorized and empowered to execute and deliver such

documents, and to take and perform all actions necessary to implement and effectuate the relief

granted in this Order.

                 9.      This Court shall retain jurisdiction with respect to any matters, claims,

rights or disputes arising from or related to the Motion or the implementation of this Order.




         Dated: November 22nd, 2022                      JOHN T. DORSEY
         Wilmington, Delaware                            UNITED STATES BANKRUPTCY JUDGE
